       Case 2:24-cv-01254-AMM Document 48-10 Filed 10/01/24 Page 1 of 2                                     FILED
                                        U.S. Department of Justice                                 2024 Oct-01 PM 06:09
                                                                                                   U.S. DISTRICT COURT
                                                       Civil Rights Division                           N.D. OF ALABAMA




                                                    September 20, 2024

The Honorable Steve Marshall
Alabama Attorney General
501 Washington Avenue
Montgomery, Alabama 36104
steve.marshall@alabamaag.gov

Dear Attorney General Marshall:

       This is to notify you that I have authorized the filing of a lawsuit against the State of
Alabama and appropriate state officials to enforce Section 8(c)(2) of the National Voter
Registration Act of 1993 (NVRA), 52 U.S.C. § 20507(c)(2).

        Section 8 of the NVRA establishes requirements for the administration of voter
registration for elections for Federal office. 52 U.S.C. § 20507. Section 8(c)(2), also known as
the Quiet Period Provision, directs that a “State shall complete, not later than 90 days prior to the
date of a primary or general election for Federal office, any program the purpose of which is to
systematically remove the names of ineligible voters from the official lists of eligible voters.”
Id. § 20507(c)(2)(A). Although the Quiet Period Provision is subject to enumerated exceptions,
see id. § 20507(c)(2)(B), the Provision applies to programs intended to systematically remove
the names of ineligible voters based on failure to meet initial eligibility requirements at the time
of registration, including citizenship, see Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1343-48
(11th Cir. 2014).

        Our investigation indicates that Alabama Secretary of State Allen announced a “process
to remove noncitizens registered to vote in Alabama” on August 14, 2024, less than 90 days prior
to the November 5, 2024, federal general election. Both native-born and naturalized U.S.
citizens have received letters stating that their voter record has been made inactive and that they
have been placed on the path for removal from the statewide voter list. The letter directs
recipients who are in fact U.S. citizens and eligible to vote to complete and submit an attached
State of Alabama Voter Registration Form. In turn, that form instructs, “Voter registration and
updating of voter records is closed during the 14 days prior to each election in Alabama.”

       We hope to resolve this matter amicably and to avoid protracted litigation. Accordingly,
we will delay filing the complaint for a short period to permit us to try to settle this matter via a
remedy to be filed with the complaint. Dan Freeman, an attorney with the Voting Section of the
Civil Rights Division, will call your office shortly to determine whether the State wishes to
pursue negotiations aimed at settlement. He may be reached at (202) 305-5451.
                                                                                            cAsk = "Enter Exhibit
                                                                                                  Number";
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                                                                                                     EXHIBIT

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      Thank you for your attention to this important matter.

                                                   Sincerely,




                                                   Kristen Clarke
                                                   Assistant Attorney General
                                                   Civil Rights Division


cc:   Wes Allen, Alabama Secretary of State
